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 8 Khrapunov, Viktor Khrapunov, Elvira

 9 Khrapunov a/k/a Elvira Kudryashova;
      Dmitry Kudryashov; RPM USA, LLC;
10    RPM-Maro LLC; Maro Design LLC; Haute
      Hue LLC; 628 Holdings LLC; Candian
11    International Ltd.; Elvira Kudryashova as
12
      Trustee of The Kasan Family Trust; Dmitry
      Kudryashov as Trustee of The Kasan Family
13    Trust, Crownway Ltd., Vilder Company
      S.A., and World Health Networks, Inc.
14

15                           UNITED STATES DISTRICT COURT

16
                           CENTRAL DISTRICT OF CALIFORNIA

       CITY OF ALMATY,                   Case No. 14-cv-03650-FMO (CW)
17
                                         Consolidated with case no. 15-cv-02628-FMO
18                       Plaintiff,      (CW)
19                v.
                                         DECLARATION OF LARA KOLLIOS IN
20     VIKTOR KHRAPUNOV, et al.,         SUPPORT OF PLAINTIFF CITY OF
                         Defendants.     ALMATY’S MOTION TO COMPEL
21
                                         DEPOSITIONS AND RESPONSES AND
22                                       PRODUCTION OF DOCUMENTS
                                         RESPONSIVE TO PLAINTIFF’S
23
                                         INTERROGATORIES, REQUESTS FOR
24                                       PRODUCTION OF DOCUMENTS, AND
                                         REQUEST FOR ADMISSION BY
25
                                         DEFENDANTS
26
                                         Hearing Date: February 12, 2018
27                                       Time: 10:00 a.m.
28                                       Court Room: 640

                                                     DECLARATION OF LARA KOLLIOS
                                                        Case No.: 14-cv-03650-FMO (CW)
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 1                         DECLARATION OF LARA KOLLIOS
 2         I, Lara Kollios, hereby declare under penalty of perjury under the laws of the
 3 State of California and this Court as follows:

 4         1.    I am an attorney licensed to practice law in the State of California. I am
 5 counsel to defendants Madina Ablyazova, Iliyas Khrapunov, Leila Khrapunov, Viktor

 6 Khrapunov, Elvira Khrapunov a/k/a Elvira Kudryashova; Dmitry Kudryashov; RPM

 7 USA, LLC; RPM-Maro LLC; Maro Design LLC; Haute Hue LLC; 628 Holdings LLC;

 8 Candian International Ltd.; Elvira Kudryashova as Trustee of The Kasan Family Trust;

 9 Dmitry Kudryashov as Trustee of The Kasan Family Trust; Crownway, Ltd.; Vilder

10 Company S.A.; and World Health Networks (“Defendants”) in this matter. I have

11 personal knowledge of the facts set forth herein and, if called to do so, could and

12 would competently testify thereto.

13         2.    Almaty initiated the meet-and-confer with respect to some of Defendants’
14 2017 discovery responses on December 13, 2017. See Jackson Decl., Ex. F.

15         3.    I participated in a meet-and-confer call with respect to Almaty’s
16 December 13, 2017 meet-and-confer letter on December 26, 2017, which was within

17 the deadline imposed by Local Rule 37. During this call, I proposed that the parties

18 renew their perspective motions to compel that were set to be heard in September

19 2015, but were taken off calendar because the Court dismissed Almaty’s action on

20 forum non conveniens grounds. I noted that the parties spent significant judicial and

21 party time and resources meeting-and-conferring on the prior discovery and narrowing

22 the disputes. I also stated that much of the discovery at issue in the December 2017

23 letter was duplicative of discovery that was subject to Almaty’s prior pending motion

24 to compel, and it therefore made sense to seek guidance from the Court on the

25 narrowed issues rather than starting anew.

26         4.    During the December 26, 2017 meet-and-confer, the parties did not
27 discuss any specific discovery requests. The only objection addressed was the Swiss

28 Defendants’ objection based on personal jurisdiction. I informed Almaty’s counsel

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 1 that the Swiss Defendants continued to stand on that objection. I also stated, however,

 2 that if that objection were overruled, the discovery remained objectionable for all the

 3 additional reasons stated in the responses. The parties did not address these additional

 4 objections with respect to any of the discovery at issue in Almaty’s December 13, 2017

 5 letter.

 6           5.   Almaty sent a second meet-and-confer letter with respect to Defendants’
 7 remaining 2017 discovery responses on December 22, 2017. See Jackson Decl., Ex. G.

 8           6.   I participated in three subsequent meet-and-confer calls regarding
 9 Almaty’s December 13 and 22, 2017 meet-and-confer letters on January 8, 9, and 10,

10 2018. Each call lasted approximately one hour. Almaty’s counsel restated Almaty’s

11 positions as set forth in its December 13, 2017 letter. I also reiterated Swiss

12 Defendants’ position (that was first relayed in October 2018), that given the

13 presumption that a defendant’s deposition shall occur where he resides, Swiss

14 Defendants’ depositions should take place in Switzerland. I also reiterate the

15 arguments made and accepted by the Southern District of New York in Almaty v.

16 Ablyazov, et al., No. 15-CV-05345 AJN-KHP (S.D.N.Y 2015) (“The New York

17 Action”). I reiterated that Viktor and Iliyas were on the INTERPOL wanted list and

18 therefore could not travel outside of Switzerland without a credible fear of arrest and

19 extradition, as was found by the Southern District of New York. I also informed

20 Almaty’s counsel that both Viktor and Leila Khrapunov had applied for political

21 asylum in Switzerland and had surrendered their passports as part of that process, and

22 therefore could not leave Switzerland for that additional reason. Finally, although I

23 understood Almaty to know these facts given that they are the plaintiff in the New

24 York Action, I informed Almaty’s counsel that depositions of Viktor and Iliyas were

25 going forward in Switzerland pursuant to The Hague Convention in the New York

26 Action on January 31-February 2, 2018, and that the depositions were going to be very
27 similar to those conducted pursuant to Federal Rule of Civil Procedure. I also

28 explained that, pursuant to Swiss law, counsel from Latham and Watkins (as well as

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 1 counsel from Boersch Shapiro, LLP) could not attend those depositions without

 2 requiring a new application through the Hague process. See Ex. 16, attached hereto.

 3         7.    During the January 2018 meet-and-confer phone calls, the parties only
 4 substantively discussed Elvira Khrapunova’s responses to Interrogatory Nos. 24-25

 5 and, in part, Appendix D to Almaty’s Requests for Production to Elvira Khrapunova.

 6 No other specific discovery requests were discussed.

 7                  a. With respect to Interrogatory No, 24, which asks Ms. Khrapunova
 8                     to “IDENTIFY all ENTITIES and RELATED PARTIES for which
 9                     you are or have been a beneficial owner, including but not limited
10                     to CROWNWAY and VILDER,” I noted that the definitions of
11                     ENTITIES and RELATED PARTIES made the request overbroad
12                     and requested irrelevant information. Almaty defined those terms
13                     by referencing Appendix B, which listed 66 entities, as well as a
14                     catch-all provision for broad groups of people, such as “friends.” I
15                     noted that the relevance of many of the individuals and entities was
16                     not apparent from the long appendices. Almaty’s counsel would
17                     merely represent that, to the best of their knowledge, the entities or
18                     individuals were either part of Viktor’s alleged scheme in
19                     Kazakhstan or the money laundering scheme. Almaty’s counsel
20                     could not commit that they had produced an information to that
21                     effect and could generally not discuss details of entities or
22                     individuals not alleged in the complaint. I stated that if Almaty’s
23                     counsel could explain the relevance of the various entities and
24                     individuals not alleged in the complaint, and eliminate the catch-all
25                     definition, Ms. Khrapunova could respond.
26                  b. The next interrogatory, also numbered as Interrogatory No. 24,
27                     requested Ms. Khrapunova to identify all financial transactions over
28                     $5,000 from 1997-present, regardless of purpose of the transaction,
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 1                     amount of the transaction, source of funds, or Ms. Khrapunova’s
 2                     knowledge regarding the source of funds. I also noted that the
 3                     interrogatory suffered from the same overbreadth as the prior
 4                     interrogatory because it incorporated the lengthy appendices.
 5                     Finally, I noted that Almaty asked the exact same interrogatory in
 6                     2015, that the parties has used judicial and party resources meeting-
 7                     and-conferring and narrowing the dispute on that 2015 discovery,
 8                     and that further meeting-and-conferring here was wasteful.
 9                  c. Interrogatory No. 25 seeks Ms. Khrapunova to “IDENTIFY the
10                     source of all funds paid to YOU for school tuition and living
11                     expenses, including but not limited to the following insitituions,
12                     Ecole Brillamont, Chateau Mont Choisi, and Leysin American
13                     School.” I confirmed that all of these schools were in Switzerland,
14                     and Almaty’s counsel agreed. I inquired why it was relevant to
15                     Almaty’s United States RICO claims how Ms. Khrapunov spent
16                     funds in Switzerland. Almaty’s counsel responded that Almaty was
17                     entitled to trace all funds ever spent by the Khrapunovs. I stated
18                     that I was unaware of any United States civil or criminal law that
19                     reached purely foreign transactions, and Almaty’s counsel could
20                     cite none.
21                  d. The parties also discussed Appendix D to Almaty’s Requests for
22                     Production to Ms. Khrapunova. Appendix D contains a list of 104
23                     entities and land plots. Many of the entities and land plots do not
24                     appear in the CAC. Almaty’s counsel could not explain the
25                     relevance of many of these entities. For examples, Almaty’s
26                     counsel stated that entities listed in numbers 14-25 on Appendix D
27                     concerned an “airport scheme” and Viktor Khrapunov. However,
28                     Almaty’s counsel could not explain what that scheme was or how it
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 1                     violated Kazakh (let alone American) law, and acknowledged it
 2                     was not specifically pled in the CAC.
 3            8. The following cases have been filed by Kazakhstan against members of
 4 the Khrapunov family:

 5                  a. Almaty v. Ablyazov, et al., No. 15-CV-05345 AJN-KHP (S.D.N.Y)
 6                  b. Kazakhstan v. Ketebaev, et al., 17-CV-00264 LHK (N. D. Ca.)
 7                  c. Almaty v. Viktor Khrapunov, et al., Nos. P/16479/2012 and
 8                     CP/73/2012 (Switzerland)
 9                  d. JSC BTA Bank v. Ablyasov, et al., No. CL-2015-000549 (United
10                     Kingdom)
11                  e. Conseil D’Etat, Decision d’extradition (Ablyazov), 9 decembre
12                     2016 (France) (decision annulling a decision of the French
13                     government to extradite Ablyazov to Russia).
14            9. I have spoken to John P. Curley, of Hoguet Newman Regal & Kenney,
15 who represents Iliyas Khrapunov in the New York Action. Mr. Curley informed me

16 that Almaty did not move to compel Viktor Khrapunov’s deposition in that matter, but

17 instead proceeded directly through the Hague process. Mr. Curley also informed me

18 the depositions of Viktor and Iliyas Khrapunov are scheduled to take place January 32-

19 February 2 in Switzerland, that the depositions will be recorded verbatim, and that the

20 American lawyers present will be permitted to ask questions of the witness.

21            10. Attached hereto as Exhibit 1 is a true and correct copy of the 2016
22 United States Department of State’s Human Rights Report for Kazakhstan.

23            11. Attached hereto as Exhibit 2 is a true and correct copy of the Human
24 Rights Watch’s January 2017 report on Kazakhstan.

25            12. Attached hereto as Exhibit 3 is a true and correct copy of a September
26 27, 2017 Financial Times article titled “Spies, Lies and the Oligarch: Inside London’s
27 Booming Secrets Industry”.

28

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 1            13. Attached hereto as Exhibit 4 is a true and correct copy of the October 11,
 2 2017 Council of Europe’s Written Declaration No. 638.

 3            14. Attached hereto as Exhibit 5 is a true and correct copy of the
 4 Memorandum and Order filed June 7, 2017 in City of Almaty et al. v. Ablyazov, et al.,

 5 Case No. 15-05345 (SDNY 2015), Dkt. No. 330.

 6            15. Attached hereto as Exhibit 6 is a true and correct copy of Almaty’s
 7 Response and Objections to Defendants’ First Set of Interrogatories, No. 6.

 8            16. Attached hereto as Exhibit 7 is a true and correct copy of Viktor and
 9 Iliyas Khrapunov’s letter motion requesting an order that Iliyas Khrapunov’s

10 deposition take place in Switzerland in City of Almaty, et al. v. Ablyazov, et al., Case

11 No. 15-05345 (SDNY 2015), Dkt. No. 320.

12            17. Attached hereto as Exhibit 8 is a true and correct copy of the Declaration
13 of Katelyn K. Brooks and attached exhibits filed on May 2, 2017 in City of Almaty, et

14 al. v. Ablyazov, et al., Case No. 15-05345 (SDNY 2015), Dkt. No. 321.

15            18. Attached hereto as Exhibit 9 is a true and correct copy of the Declaration
16 of Matthew George Jenkins and attached exhibits filed on May 2, 2017 in City of

17 Almaty, et al. v. Ablyazov, et al., Case No. 15-05345 (SDNY 2015), Dkt. No. 322.

18            19. Attached hereto as Exhibit 10 is a true and correct copy of Plaintiff’s
19 request that Iliyas Khrapunov be deposed at a mutually agreeable location in City of

20 Almaty, et al. v. Ablyazov, et al., Case No. 15-05345 (SDNY 2015), Dkt. No. 303.

21            20. Attached hereto as Exhibit 11 is a true and correct copy of Plaintiff’s
22 proposed Hague Convention requests in City of Almaty, et al. v. Ablyazov, et al., Case

23 No. 15-05345 (SDNY 2015), Dkt. No. 364.

24            21. Attached hereto as Exhibit 12 is a true and correct copy of the Council of
25 Europe’s Committee on Legal Affairs and Human Rights’ report titled “Abusive use of

26 the INTERPOL system: the need for more stringent legal safeguards”.
27            22. Attached hereto as Exhibit 13 is a true and correct copy of an
28 INTERPOL Red Notice for Viktor Khrapunov.

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 1              23. Attached hereto as Exhibit 14 is a true and correct copy of a July 19,
 2 2016, memorandum from Christian Luscher, an attorney registered at the Geneva Bar

 3 in Switzerland, regarding Viktor Khrapunov’s and Leila Khrapunov’s pending asylum

 4 petitions.

 5              24. Attached hereto as Exhibit 15 is a comparison of select discovery
 6 requests that Almaty served in 2015 and 2017 that identifies duplicative nature of

 7 Almaty’s discovery. This is just a sample of the duplicative requests for purposes of

 8 illustration to aid the Court’s understanding that Almaty has served the same discovery

 9 twice, once in 2015 and again in 2017, and does not represent all of Almaty’s

10 duplicative requests.

11              25. Attached hereto as Exhibit 16 is a true and correct copy of a January 19,
12 2018, memorandum from Mangeat Attorneys-At-Law explaining the process of taking

13 a deposition in Switzerland in the context of foreign proceedings and a true and correct

14 copy of International Judicial Assistance in Civil Matters issued by the Federal

15 Department of Justice and Police in Switzerland.

16

17         Executed this 19 day of January, 2018 at Oakland, California.
18
                                                          /s/ Lara Kollios_______
19                                                        Lara Kollios
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